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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

CISSY THUNDERHAWK; WAŠTÉ WIN              )
YOUNG; REVEREND JOHN FLOBERG;             )
and JOSÉ ZHAGÑAY on behalf of themselves  )     ORDER EXTENDING THE
and all similarly-situated persons,       )     DEADLINE FOR INITIAL
                                          )     DISLOSURES UNDER FED R
             Plaintiffs,                  )     CIV. P. 26(a)(1)
                                          )
      vs.                                 )
                                          )
COUNTY OF MORTON, NORTH DAKOTA;           )
SHERIFF KYLE KIRCHMEIER; GOVERNOR         )
DOUG BURGUM; FORMER GOVERNOR              )
JACK DALRYMPLE; DIRECTOR GRANT            )
LEVI; SUPERINTENDENT MICHAEL              )     Case No. 1:18-cv-212
GERHART JR; TIGERSWAN LLC;                )
and DOES 1 to 100,                        )
                                          )
             Defendants.                  )
______________________________________________________________________________

       On September 1, 2020, the Court issued an order: (1) denying in part and granting in part a

motion to dismiss filed by Governor Burgum, former Governor Dalrymple, Director Levi and

Superintendent Gerhart (“State Defendants”); (2) denying in part and granting in part a motion to

dismiss filed by Morton County and Sheriff Kirchmeier (“County Defendants”); and (3) denying a

motion for summary judgment, or in the alternative, motion dismiss filed by Tigerswan LLC. (Doc.

No. 88).

           On September 18, 2020, the undersigned issued a scheduling and discovery order that

provided in relevant part that the parties were to make their Rule 26(a)(1) initial disclosures by

October 23, 2020 (Doc. No. 96).

       On September 25, 2020, the State Defendants filed notice of their interlocutory appeal of the

Court’s September 1, 2020, order along with a motion to stay proceedings/discovery. (Doc. Nos.

                                                1
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100 and 104). That same day the County Defendants filed notice of their interlocutory appeal of the

Court’s September 1, 2020, order along with a motion to stay proceedings in which they joined in

the State Defendants’ motion. (Doc. Nos. 102 and 105). On October 28, 2020, the County

Defendants filed an amended motion to stay proceedings/discovery. (Doc. No. 108)

       Meanwhile, on October 26, 2020, TigerSwan LLC filed a motion to stay discovery in which

it joined the States Defendants’ motion in part. (Doc. Nos. 109 and 111).

       On motion by plaintiffs, the Court issued an order on October 13, 2020, giving plaintiffs 10

days, or until October 23, 2020, to file a response to all of the pending motions to stay

proceedings/discovery. (Doc. No. 114).

       The undersigned finds it appropriate under the circumstances to extend the Rule 26(a)(1)

deadline by 10 days. Accordingly, on the undersigned’s own motion, the deadline to complete Rule

26(a)(1) disclosures shall be extended until November 2, 2020.

       IT IS SO ORDERED.

       Dated this 20th day of October, 2020.

                                             /s/ Charles S. Miller, Jr.
                                             Charles S. Miller, Jr., Magistrate Judge
                                             United States District Court




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